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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21
           Plaintiff, Counter-defendant              APPLE INC.’S REPLACEMENT NOTICE
22    v.                                             OF LODGING FOR ECF NO. 1391

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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     APPLE INC.’S REPLACEMENT NOTICE OF                          CASE NO. 4:20-CV-05640-YGR-TSH
     LODGING FOR ECF NO. 1391
       Case 4:20-cv-05640-YGR          Document 1575        Filed 05/19/25      Page 2 of 2




 1          Pursuant to the Court’s order of May 15, 2025 (Dkt. 1562), Apple hereby submits this

 2   replacement Notice of Loding for the Notice of Lodging originally filed at Dkt. 1391.
 3
            Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review Protocol
 4
     (Dkt. 1092), and in support of its Responses to Epic’s Objections to Special Master Rulings on Apple’s
 5
     Productions of Re-Reviewed Privileged Documents, Apple Inc. (“Apple”) hereby gives notice that it is
 6
     lodging, concurrently herewith, the following:
 7

 8      1. Privilege Log Entry 1531 (PRIV-APL-EG_00162908);

 9      2. Privilege Log Entry 1540 (PRIV-APL-EG_00162954);
10      3. Privilege Log Entry 1811 (PRIV-APL-EG_00166427);
11
        4. Privilege Log Entry 2133 (PRIV-APL-EG_00170482); and
12
        5. Privilege Log Entry 11516 (PRIV-APL-EG_00265381).
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17    Dated: May 16, 2025                             Respectfully submitted,
18
                                                      By: __/s/ Mark A. Perry_____________
19
                                                      Mark A. Perry
20                                                    Attorney for Apple Inc.

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     APPLE INC.’S REPLACEMENT NOTICE OF                1               CASE NO. 4:20-CV-05640-YGR-TSH
     LODGING FOR ECF NO. 1391
